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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

__________________________________________
                                          :
In re:                                    :      Chapter 11
                                          :
Zohar III, Corp., et al.,                 :      Case No. 18-10512 (KBO)
                                          :
                          Debtors.        :      Jointly Administered
_________________________________________ :


                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

_________________________________________
                                             :
                                             :
LYNN TILTON; PATRIARCH PARTNERS              :
VIII, LLC; PATRIARCH PARTNERS XIV,           :
LLC; PATRIARCH PARTNERS XV, LLC              :
OCTALUNA, LLC; OCTALUNA II, LLC;             :
AND OCTALUNA III, LLC,                       :
                                             :
                        Appellants,          :
                                             :
            v.                               :
                                             :
MBIA INC., MBIA INSURANCE                    :
CORPORATION, U.S. BANK, N.A.,                :
ALVAREZ & MARSAL ZOHAR                       :
MANAGEMENT, CREDIT VALUE                     :
PARTNERS, LP; BARDIN HILL                    :   Case No. 1:22-cv-00400 (TLA)
INVESTMENT PARTNERS LP F/K/A                 :
HALCYON CAPITAL MANAGEMENT LP,               :
COÖPERATIEVE RABOBANK U.A.,                  :
VӒRDE PARTNERS, INC., ASCENSION              :
ALPHA FUND LLC, ASCENSION HEALTH             :
MASTER PENSION TRUST, CAZ                    :
HALCYON OFFSHORE STRATEGIC                   :
OPPORTUNITIES FUND, L.P., CAZ                :
HALCYON STRATEGIC OPPORTUNITIES              :
FUND, L.P., BROWN UNIVERSITY, HCN            :
LP, HALCYON EVERSOURCE CREDIT                :
LLC, HLF LP, HLDR FUND I NUS LP,             :
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HLDR FUND I TE LP, HLDR FUND I UST        :
LP, HALCYON VALLÉE BLANCHE                :
MASTER FUND LP, BARDIN HILL EVENT-        :
DRIVEN MASTER FUND, L.P., PRAETOR         :
FUND I, A SUB FUND OF PRAETORIUM          :
FUND I ICAV; HIRTLE CALLAGHAN             :
TOTAL RETURN OFFSHORE FUND                :
LIMITED; HIRTLE CALLAGHAN TOTAL           :
RETURN OFFSHORE FUND II LIMITED;          :
HIRTLE CALLGHAN TRADING                   :
PARTNERS, L.P.; AND THIRD SERIES OF       :
HDML FUND I LLC,                          :
                                          :
                        Appellees.        :
__________________________________________:

               MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission
pro hac vice of Robert Franciscovich, Esq. of the law firm Arnold & Porter Kay Schoeler LLP,
250 West 55th Street, New York, NY 100119-9710, to represent Defendants, the Zohar III
Controlling Class, in the above-captioned action.

Dated: April 21, 2022                             /s/ Morgan L. Patterson
                                                  Matthew P. Ward (Del. Bar No. 4471)
                                                  Morgan L. Patterson (Del. Bar No. 5388)
                                                  WOMBLE BOND DICKINSON (US) LLP
                                                  1313 N. Market Street, Suite 1200
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 252-4320
                                                  Facsimile: (302) 252-4330
                                                  Email: matthew.ward@wbd-us.com
                                                  Email: morgan.patterson@wbd-us.com

                                                  Counsel to the Zohar III Controlling Class

           ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Date: April __, 2022
                                           ____________________________________
                                           The Honorable Thomas L. Ambro
                                           United States District Judge



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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York and

District of Columbia and the U.S. District Court for the Eastern and Southern District of New

York, and the United States Court of Appeals for the Second Circuit, Fourth Circuit, and Tenth

Circuit, and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for

any alleged misconduct which occurs in the preparation or course of this action. I also certify that

I am generally familiar with this Court’s Local Rules. In accordance with Standing Order for

District Court Fund effective August 31, 2016, I further certify that the annual fee of $25.00 has

been paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted to the

Clerk’s Office upon the filing of this motion.


Dated: April 21, 2022                            /s/ Robert Franciscovich
                                                 Robert Franciscovich
                                                 ARNOLD & PORTER KAYE SCHOLDER LLP
                                                 250 West 55th Street
                                                 New York, NY 10019-9710
                                                 Telephone: (212) 836-7151
                                                 Email: robert.francisovich@arnoldporter.com

                                                 Counsel to the Zohar III Controlling Class




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